Case 1:09-cv-05512-LAK Document 12 Filed 06/26/09 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

—j—e ee eee ei eee ee eee ee ee ee ee ee ee eee eB ee X
24 SEVEN, INC.,
Plaintiff,
-against- 09 Civ. 5512 (LAK)
ALICIA FAZIO, et al.,
Defendants.
—_—sx=seeree@wwewe ewe ee eee ew ee eee ee ee ee ee ele ee eee x

ORDER

LEWIS A. KAPLAN, District Judge.

Plaintiffs counsel has advised the Court on behalfof all parties that the case has been
settled and that appropriate submissions will be forthcoming. The action is dismissed with prejudice
and without costs subject to the right of any party to reinstate the action to the calendar by filing, on
or before July 6, 2009, a written notice of reinstatement in the event the settlement agreement has
not be executed by that date.

 

 

SO ORDERED.
Dated: June 26, 2009
C {_.
Lewis A. Kapa ™
ee United States District Judge
USDC SDNY

     
     
    
    

DOCUMENT

ELECTRONIC ALL
Y FIL
DOC #: eD

| DATE FILED 4

  
